         Case 2:13-cr-00016-GEB Document 71 Filed 09/26/14 Page 1 of 2


 1

 2

 3

 4

 5

 6

 7

 8                                 UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          No. 2:13-cr-00016 GEB DAD P
12                      Respondent,
13           v.                                         ORDER
14   CARLOS ALEJANDRO MENDOZA-
     VILLANUEVA,
15
                        Movant.
16

17           Movant, a federal prisoner proceeding pro se, has filed a motion to vacate, set aside, or

18   correct his sentence pursuant to 28 U.S.C. § 2255. (ECF No. 65.) The court notes, however, that

19   an appeal is currently pending in this action. (See ECF Nos. 63-4.) As a general rule, a district

20   court should not consider a Section 2255 motion while a direct appeal is pending. See United

21   States v. Deeb, 944 F.2d 545, 548 (9th Cir. 1991); Feldman v. Henman, 815 F.2d 1318, 1320 (9th

22   Cir. 1987). Moreover, counsel has now been appointed to represent movant. (ECF No. 70.)

23           Accordingly, IT IS HEREBY ORDERED that appointed counsel shall, within thirty days

24   after the filing date of this order, do one of the following:

25           1. Inform the court that movant intends to proceed on his motion filed June 25, 2014;

26           2. File and serve an amended motion to vacate, set aside, or correct movant’s sentence

27   pursuant to 28 U.S.C. § 2255; or

28   /////
                                                        1
        Case 2:13-cr-00016-GEB Document 71 Filed 09/26/14 Page 2 of 2


 1            3. Request withdrawal, without prejudice, of the pending motion to vacate, until such

 2   time that movant’s appeal is concluded.

 3   Dated: September 26, 2014
 4

 5   DAD:4
     rodr0016.update
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                                      2
